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         IN THE CIRCUIT COURT OF THE SIXTEENTH JUDICIAL CIRCUIT
                           KANE COUNTY, ILLINOIS
______________________________________________________________________________

ABRAHAM MASHAL,

               Plaintiff,

vs.                                                         Case No. 21-SC-000226

SHRECK KITCHENS, BOWMAN DESIGN
GROUP, LLC and HOLIDAY KITCHENS,

            Defendants.
______________________________________________________________________________

                            NOTICE OF REMOVAL
______________________________________________________________________________


TO:    COUNSEL OF RECORD

       Defendant, Holiday Kitchens, by its attorneys, von Briesen & Roper, s.c., hereby gives

notice of the removal of this civil action from the Circuit Court of Kane County, Illinois, to the

United States District Court for the Northern District of Illinois. This Notice of Removal is filed

pursuant to 28 U.S.C. §§1441(a), 1441 (c),1446 (c) and 28 U.S.C §1367 (a). As grounds for

removal, defendant states as follows:

JURISDICTION AND VENUE

       1.      This Court has original jurisdiction under 28 U.S.C. §1331, and this case may be

removed pursuant to the provisions of 28 U.S.C. §1441(a) and (c) because it is a civil action

wherein the Plaintiff has asserted a claim under Federal Statute, namely the Magnuson-Moss Act

(See Summons and First Amended Complaint marked as Exhibit A and attached hereto).
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       2.      Co-defendants Schreck Kitchens and Bowman Design Group, LLC have

consented to the removal of the action (See Consent for Removal marked as Exhibit B and

attached hereto).

       3.      Supplemental Jurisdiction over all of the claims asserted in Plaintiff’s Amended

Complaint is appropriate under 28 U.S.C §1367 (a) because those claims are so related to the

Magnuson-Moss claim that they form part or the same case and controversy under Article III of

the United States Constitution as evidenced by the fact that all of the Counts asserted in the

Amended Complaint rely upon the same set of alleged facts.

       4.      Venue is proper in this Court pursuant to 28 U.S.C. §§1391 and 1446.

PLEADINGS

       3.      Plaintiff Abraham Mashal (“Mashal”) commenced this action against Holiday

Kitchens by filing a First Amended Complaint (the “Complaint”) on May 21, 2021, in the Circuit

Court for Kane County, Illinois, as Case No. 2021SC000226. The Complaint alleged a breach of

contract by New Earth. A true and correct copy of the Summons and First Amended Complaint

served upon Holiday Kitchens are attached hereto as Exhibit A.

       4.      Holiday Kitchens has not been served with any other pleadings.

TIMELINESS OF REMOVAL

       5.      Defendant Holiday Kitchens was served with a copy of the Summons and First

Amended Complaint on June 15, 2021.

       6.      The time in which to answer the First Amended Complaint or otherwise plead has

not yet expired.




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       7.      Thirty (30) days have not yet expired since Holiday Kitchens was served with a

copy of the Summons and First Amended Complaint. Thus, this Notice of Removal is timely

pursuant to 28 U.S.C. §1446(b).

       WHEREFORE, the above-captioned action is hereby removed from the Kane County

Circuit Court to this Court.

       Dated at Milwaukee, Wisconsin, this 25th day of June, 2021.

                                           von BRIESEN & ROPER, s.c.
                                           Attorneys for Defendant, Holiday Kitchens

                                           By:_/s/ Timothy J. Pike______________________
                                                  Timothy J. Pike
                                                  ARDC No. 6273601

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                                                                    EXHIBIT B
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